   Case: 1:02-cr-00729 Document #: 296 Filed: 11/30/06 Page 1 of 6 PageID #:1374




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

UNITED STATES OF AMERICA                             )
                                                     )
                         Plaintiff,                  )
                                                     )   No. 02 CR 729-2
                 v.                                  )
                                                     )   HONORABLE DAVID H. COAR
PEDRO HERRERA,                                       )
                                                     )
                         Defendant.                  )


                         MEMORANDUM OPINION AND ORDER

       Before this Court is a limited remand from the Seventh Circuit Court of Appeals pursuant

to United States v. Paladino, 401 F.3d 471 (7th Cir. 2005). This Court is charged with

determining whether it would have imposed a different sentence on Appellant/Defendant Pedro

Herrera (“Defendant”), had the Federal Sentencing Guidelines (“Guidelines”) been considered

advisory rather than mandatory at the time of sentencing. After reviewing the parties’

submissions1 and the pre-sentence report, this Court concludes that it would have applied the

same sentence.

                                        BACKGROUND

       On December 10, 2002, Defendant was indicted on one count of conspiracy to possess

with intent to distribute heroin and cocaine (Count I), and a second count of attempting to

possess with intent to distribute cocaine (Count VI), both in violation of 21 U.S.C. § 846. On



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        Defendant Herrera filed a position paper on this issue on November 29, 2006, well after
the deadline of September 14, 2006, and without providing proper notice as required by Local
Rule 5.3. In any event, this Court has considered the factors included in that paper.

                                               -1-
   Case: 1:02-cr-00729 Document #: 296 Filed: 11/30/06 Page 2 of 6 PageID #:1375




July 30, 2003, a jury found Defendant guilty of both counts. Sentencing took place on

November 5, 2003, at which point this Court overruled Defendant’s objection that the drug

amount attributed to him was too large, and also overruled his objection that a two-level

enhancement for reckless endangerment during flight was not warranted under Guidelines §

3C1.2. Applying the resultant offense level of 40 and a criminal history category of III, the

sentencing range under the guidelines was 360 months to life imprisonment. This Court

expressed no desire to move outside of this range, but sentenced Defendant to 360 months, the

lowest possible sentence.

       On appeal, the Seventh Circuit affirmed but issued a limited remand pursuant to United

States v. Paladino, 401 F.3d 471, 483-84 (7th Cir. 2005). The Government filed a position paper

on the Paladino issue, which this Court has reviewed along with the factors of 18 U.S.C. §3553

as they apply to this case.

                                    LEGAL BACKGROUND

       Congress promulgated the Guidelines in 1987. See 18 U.S.C. §3553; see also United

States v. Hanhardt, 424 F.Supp.2d 1065, 1073 (N.D.Ill. 2006). In Booker, the Supreme Court

concluded that mandatory imposition of the sentences set out in the Guidelines, without the use

of a jury as factfinder, on certain issues violated the Sixth Amendment. See Booker, 543 U.S.

220. If the Guidelines had not been considered mandatory, the Supreme Court noted, no Sixth

Amendment problem would have been raised. See id. at 233 (“If the Guidelines as currently

written could be read as merely advisory provisions that recommended, rather than required, the

selection of particular sentences in response to differing sets of facts, their use would not

implicate the Sixth Amendment. We have never doubted the authority of a judge to exercise


                                                 -2-
   Case: 1:02-cr-00729 Document #: 296 Filed: 11/30/06 Page 3 of 6 PageID #:1376




broad discretion in imposing a sentence within a statutory range.”) (citations omitted); see also

United States v. Dean, 414 F.3d 725, 730 (7th Cir. 2005) (“With the guidelines now merely

advisory, factfindings that determine the guidelines sentence do not determine the actual

sentence, because the sentencing judge is not required to impose the guidelines sentence; and so

the Sixth Amendment is not in play.”).

       In response, some defendants sentenced in the Seventh Circuit before the Booker

decision “are now given limited remands to re-evaluate their sentences under the factors

contained in 18 U.S.C. §3553.” Hanhardt, 424 F.Supp.2d at 1073 (citing United States v. Welch,

429 F.3d 702, 705 (7th Cir. 2005); Paladino, 401 F.3d at 484). These limited remands – or

“Paladino remands” – are meant only to enable the district judge to signal to the Court of

Appeals “whether [the defendant’s] sentence would have been different had the Guidelines been

applied as advisory rather than mandatory.” Id. (citing United States v. Santiago, 428 F.3d 699,

705-06 (7th Cir. 2005); Paladino, 401 F.3d at 484).

       When considering the remand, “any sentence that is properly calculated under the

Guidelines is entitled to a rebuttable presumption of reasonableness.” United States v. Mykytiuk,

415 F.3d 606, 608 (7th Cir. 2005). “Therefore, the defendants must rebut the presumption of

reasonableness attached to the Guidelines sentences ‘by demonstrating that [their]

sentence[s][are] unreasonable when measured against the factors set forth in [18 U.S.C.]

§3553(a)’.” United States v. Spano, 447 F.3d 517, 519 (7th Cir. 2006) (citations omitted).

These factors include the nature and circumstances of the offence, §3553(a)(1); the history and

characteristics of the defendant, §3553(a)(1); the kinds of sentences available, §3553(a)(3); the

sentencing range established under the Guidelines (subject to amendment), §3553(a)(4); any


                                                -3-
   Case: 1:02-cr-00729 Document #: 296 Filed: 11/30/06 Page 4 of 6 PageID #:1377




pertinent policy statement issued by the U.S. Sentencing Commission (subject to amendment),

§3553(a)(5); the need to avoid unwarranted sentence disparities among defendants with similar

records found guilty of similar conduct, §3553(a)(6); and the need to provide restitution to any

victims of the offense, §3553(a)(7). In addition, the sentence must reflect the seriousness of the

offense, promote respect for the law, provide just punishment for the offense, afford adequate

deterrence to criminal conduct, protect the public from further crimes of the defendant, and

provide the defendant with needed educational, medical, or correctional treatment. See 18

U.S.C. § 3553.

                                           ANALYSIS

       Defendant has advanced no argument that this court would likely have ruled differently

had the guidelines been advisory. For that reason, a lengthy analysis is unnecessary; the Seventh

Circuit recently noted that “[o]n a Paladino remand a judge need not employ a full-fledged

methodology for measuring the reasonableness of the Guidelines sentence against §3553(a).”

Spano, 447 F.3d 517 (citing United States v. Dean, 414 F.3d 725, 729 (7th Cir. 2005)). The

Court of Appeals clarified: “[a]nd the need for a judge to explain in detail his consideration of

the §3553(a) factors when choosing to stick with the Guidelines sentence is proportional to the

arguments made by the defendants...When the judge is not presented with much, he need not

explain much.” Id. (citation omitted).

       This Court adopted the determination of Defendant’s criminal history found in the pre-

sentence report. Based upon a single past conviction for possession with intent to distribute

cocaine that took place in 2000, and because he executed the instant crime while still on

supervised release following that prior conviction, Defendant was given six criminal history


                                                -4-
   Case: 1:02-cr-00729 Document #: 296 Filed: 11/30/06 Page 5 of 6 PageID #:1378




points for a criminal history category of III. In light of this past, the criminal history category

was in no way inappropriate for Defendant’s situation.

       Defendant was found guilty of conspiracy and possession with intent to distribute

tremendous amounts of heroin and cocaine, amounting to the marijuana equivalent of more than

30,000 kilograms and a base offense level of 38 pursuant to §2D1.1(c)(1). This was the

minimum possible drug amount based upon the estimates at trial. While the total drug amount

attributable to Defendant was challenged at sentencing, this Court overruled the objections and

found that there was more than sufficient evidence to attribute that offense level to his actions.

The offense level of 38 that was determined by applying the guidelines resulted in a fair and

accurate result that reflected the magnitude of the crime, and this Court believes its decision

would have been no different had the Guidelines been advisory at the time.

       There was clear evidence that Defendant did in fact flee from police officers, which

warranted a 2-point adjustment for obstruction of justice under §3C1.2. Such an increase, in

light of the importance of deterring such behavior and and preventing unnecessary risk to law

enforcement personnel, would have been appropriate regardless of whether or not the Guidelines

were mandatory.

       Without any hesitation or complaint about the structure of the Guidelines as applied to

the Defendant, this Court determined a sentence of 360 months, at the low end of then-

mandatory range. Though there were some expressions of sympathy for the Defendant, whose

productive life would for all intents and purposes be terminated by this sentence, this Court was

not compelled, nor is it now compelled, to deviate from the Guidelines established by Congress.

Defendant was found guilty of attempting to disrtrubute a large amount of narcotics, closely on


                                                 -5-
   Case: 1:02-cr-00729 Document #: 296 Filed: 11/30/06 Page 6 of 6 PageID #:1379




the heels of a prior conviction, and recklessly attempted to avoid arrest when it was clear that his

situation might have been compromised by law enforcement. In order to reflect the seriousness

of the offense, promote respect for the law, adequately deter similar crimes in the future, and

protect the public, a sentence of 360 months incarceration was, and is, appropriate.

       At this stage, this Court reviews whether it would have imposed the same sentence if

operating under the understanding that the Guidelines are advisory. The presumption is that the

original sentence imposed is reasonable; Defendant is required to rebut that presumption but has

failed to do so, and this court sees no reason to think that its own ruling would have been any

different had Booker been decided before the sentencing in question took place. Sentencing

Defendant below the Guideline range would “subvert the goals of the U.S. Sentencing

Commission and lead to unwarranted sentencing disparities which would in turn fail to protect

the public.” Spano, 411 F.Supp.2d at 941.

                                         CONCLUSION

       For the foregoing reasons, this Court concludes that it would have given Defendant the

same sentence of 360 months if the Guidelines had been advisory rather than mandatory.



                                              Enter:



                                              /s/ David H. Coar
                                              David H. Coar
                                              United States District Judge

Dated: November 30, 2006




                                                -6-
